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MAY 09 2025

Instructions: Writing and Filing a “be CLERK OIE EVSOR RT
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This Complaint template can be used by persons who are not incarcerat
District Court of Nevada. Using this template does not guarantee any result in your case.

CHECKLIST: DOCUMENTS TO PREPARE

You need to file some official court forms with your complaint. These forms are available on the Court’s
Le
‘Complaint (see instructions below)
This is a general complaint template. Other types of complaint templates are available at the
Legal Help Centers. Persons who are incarcerated must use a different, official Court form.
C1) Civil Cover Sheet (information form for the Court’s internal records)
1 Summons with Proof of Service (the Clerk must sign and stamp the summons you have prepared
— the completed summons and complaint will be served on the defendant)

[1 Application to Proceed in Forma Pauperis (request that the court waive the $402 filing fee, if
you cannot afford to pay it)

HOW TO COMPLETE THIS COMPLAINT TEMPLATE

1. Know your deadlines. You have limited time to file your complaint. If you are not sure of the
deadline, seek out legal assistance.

2. Provide basic information. In the Complaint template, instructions are provided in italics to
guide you. Please read these, as well as the section in the Handbook for Pro Se Litigants entitled,
“Basic Procedures for Filing a Lawsuit,” starting at page 15. Then initial pages of the Complaint,
which provide the Court with information about you (the plaintiff) and the person or entity you
are suing (the defendant), the law you are suing under, and why this Court is the correct one to
decide this case.

3. Write out the facts. Write a short and simple description of what happened that caused you to
file this case. Put each fact into a separate, numbered paragraph. It is usually best to write the
facts in the order that they happened. Start with the earliest time and continue until the most
recent event. Include where and when each event happened, who was involved, and what role
each defendant played. If you need more pages for your facts, a blank page for copying is at the
end of this packet.

4. Write out the claims. A “claim” explains what kind of legal right you are suing about. You may
have one claim or several. For each claim, write in the law or right that was violated. Then, write
in the name of the defendant who violated that law. Complete your claim by explaining what the
law allows or doesn’t allow, what the defendant did to violate that law, and the ways in which you
were harmed by what the defendant did. Put each statement into a separate, numbered paragraph.
You can briefly repeat facts from your statement of facts. You do not need to include legal
arguments or case law.

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You may attach documents to the end of this Complaint as exhibits, but it is not required. If you
do attach an exhibit, explain what it is and how it supports your claim. Attaching a document to
your Complaint does not necessarily mean that it will be accepted as evidence.

. Identify your demands.
a. Inthe Demand for Relief section write in what you would like the Court to do for you.
b. Ifyou would like to request a jury trial at the end of your case, check the boxes for
Demand for Jury Trial on the first and last pages. Not all claims go to a jury trial.

. Number the pages. Count the number of pages in your final Complaint. In the bottom left
corner of each page, insert the page number and the total.

. Review and sign. Read your Complaint, making sure all blanks are filled in, and to confirm that
all of the statements are true. Each plaintiff must sign the complaint.

FILING AND SERVING YOUR DOCUMENTS

. Make two copies. Once you have completely filled out and signed your Complaint, Civil Case
Cover Sheet, Application to Proceed in Forma Pauperis (if needed), and prepared the Summons
for the Clerk, make a copy of each document.

. Deliver or mail the original plus two copies of each form to the Clerk’s Office at the federal
courthouse where you are filing your case. The Clerk will take the original and the other copy
is for you to keep after it is stamped by the Clerk. If you file by mail, include a self-addressed,
stamped envelope so that the Clerk can send a copy of each document back to you.

. Serve the Complaint. Be sure that the Complaint, Summons, and the documents you received
from the Clerk are served on each defendant.
a. Ifyou filed an Application to Proceed in Forma Pauperis and it is granted, the Court
will normally order the U.S. Marshalls to serve each defendant.

b. Ifyou did not file an Application to Proceed in Forma Pauperis, you will need to have

someone serve each defendant. For more information on service read Chapter 8 of the
Handbook for Pro Se Litigants.

STAY UP TO DATE

Tell the Court if you move. File a notice with the Clerk if your mailing address, email, or
phone number changes or you may miss important deadlines, causing you to lose your case.

Check your mail. Check regularly for documents from the Court or the opposing side.
A list of all of the documents that have been filed, and (usually) the documents themselves

can be viewed online. Review the section on “Service of Process” of the Handbook for Pro
Se Litigants that starts at page 22.

Prepare for what’s next. A complaint only begins the process. There are other resources
available, including the Handbook Jor Pro Se Litigants, to help you understand the next
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steps in the lawsuit process. The Handbook is for people who are representing themselves
and it explains basic court rules and procedures. It was prepared by the Court and is
available at the Clerk’s Office and on the Court’s website.

Defendant responds to

Case begins when the Complaint

the Complaint is (usually within 21 days
filed of service)
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@ VU) VL) WL
Complaint, Summons, File conference “v
and other documents statement ond attend
served on defendants conference with judge

(ASAP) to set case schedule

(within 90 days of filing}
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ao SNA HD A FF WD NY | DT ODO HH DDB nH FP WD NH KH CS

Case 2:25-cv-00815-CDS-EJY Document2-1 Filed 05/09/25 Page 4of21

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Phone Number: W2- Bp|- 0 g UD V

Fax Number: Mv, | fi

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Pro Se Plaintiff

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

WV ON Delong, “  ~" " 92:25-cv-00815-CDS-EJY

Plaintiff, COMPLAINT

iy

DEMANL/VFOR JURY TRIAL
Yes No

Defendant.

JURISDICTION

[Usually only two types of cases can be filed in federal court, cases involving “federal questions” and
cases involving “diversity of citizenship.” Check at least one box.]

1. My case belongs in federal court

under federal question jurisdiction because it is involves a federal law or right.

[Which federal law or right is involved? Title. \/ i Lore Civ kudhis

led OF lot

CI under diversity jurisdiction because none of the plaintiffs live in the same state as any of the

defendants and the amount of damages is more than $75,000.

VENUE

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[Nevada is one “judicial district.” Check the box for each venue option that applies. ]

2. Venue is appropriate in this Court because:
WY a substantial part of the events I am suing about happened in this district.
i a substantial part of the property I am suing about is located in this district.
CO Iam suing the U.S. government, federal agency, or federal official in his or her
official capacity and I live in this district.
C1 at least one defendant is located in this District and any other defendants are
located in California.

INTRADISTRICT ASSIGNMENT

[This District has two unofficial divisions. One is the “Northern Division” covering northern Nevada
including Carson City, Churchill, Douglas, Elko, Eureka, Humboldt, Lander, Lyon, Mineral,
Pershing, Storey, Washoe and Whitepine counties at the courthouse in Reno. One is the “Southern
Division” covering southern Nevada including Clark, Esmeralda, Lincoln, and Nye counties at the
courthouse in Las Vegas.]

3. Because this lawsuit arose in Co Cac kK County, it should be
assigned to the Division of this Court.
PARTIES
1. Plaintiff. [Write your name, address, and Phone number. Add a page for additional

plaintiffs. ].
Name: Yvonne, \4 Jesus
Address: TOK N (Qiand 2 PYusy £ 702) _N. Leg Veer NWN
Telephone: “102- 472 7 0) bY

2. Defendants. [Write each defendant’s full name, address, and phone number. |

Defendant 1:

wine; _MAnided LeplhCue- Zenwibr Quesenbe

Address: [if Defendant is an individual do not list home address, just use county and state]
Telephone: \ @00- 22 “5 G TG
Defendant 2:

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Name:

Address: [if Defendant is an individual do not list home address, just use county and State]

Telephone:

Defendant 3:

Name:

Address: [if Defendant is an individual do not list home address. just use county and state]

Telephone:

STATEMENT OF FACTS

[Write a short and simple description of the facts of your case. Include basic details such as where
the events happened, when things happened and who was involved. Put each fact into a separate,
numbered paragraph, starting with paragraph number 6, Use more pages as needed. ]

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CLAIMS

First Claim

(Name the law or right violated: Tv. V \\ ey the ( MM Diukk Pech ?
(Name the defendants who violated it: United Were: te anny leg [-. Ce LRA Weerbemy

[Explain briefly here what the law is, what each defendant did to violate |t, and how you were

harmed. Ypu do not need to make legal arguments. You can refer back to your statement of facts. ]

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DEMAND FOR RELIEF

[State what you want the Court to do. Depending on your claims, you may ask the Court to award
you money or order the defendant to do something or stop doing something. If you are asking for
money, you can say how much you are asking for and why you should get that amount, or describe
the different kinds of harm caused by the defendant]

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DEMAND FOR JURY TRIAL
[Check i to you want your case to be decided by a jury, instead of a judge, if allowed |
P

laintiff demands a jury trial on all issues.

Respectfully submitted,

Date: 5/4 [UE Sign Name: Yonret Jf —
/ / Print Name: / Yo f (A? De4z ly {

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[Copy this page and insert it where you need additional space. ]

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_ U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Las Vegas Local Office

333 Las Vegas Blvd South, Suite 5560
Las Vegas, NV 89101

(702) 553-4470

Website: www.eeoc.gov

(This Notice replaces EEOC FORMS 161, 161-A & 161-B)

Issued On: 02/13/2025

To: Ms. Yvonne Dejesus
7558 Whitman Colonial St
LAS VEGAS, NV 89166
Charge No: 487-2024-00641

EEOC Representative and email: KATHY AVILA
Federal Investigator
Kathy.Avila@eeoc.gov

DETERMINATION OF CHARGE

The EEOC issues the following determination: The EEOC will not proceed further with its
investigation and makes no determination about whether further investigation would establish
violations of the statute. This does not mean the claims have no merit. This determination does not
certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
the merits of any other issues that might be construed as having been raised by this charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
Receipt generally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your right to sue based on this charge
will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
based on a claim under state law may be different.)

If you file a lawsuit based on this charge, please sign in to the EEOC Public Portal and upload the
court complaint to charge 487-2024-00641.

On behalf of the Commission,

Digitally Signed By:Michael Mendoza
02/13/2025

Michael Mendoza
Local Office Director

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Enclosure with EEOC Notice of Closure and Rights (01/22)

District Director at Christine Park-Gonzalez, 255 East Temple St 4th Floor, Los Angeles, CA
90012.

To make a Section 83 request for your charge file, submit a signed written request stating it is
a "Section 83 Request” for Charge Number 487-2024-00641 to the District Director at Christine

Park-Gonzalez, 255 East Temple St 4th Floor, Los Angeles, CA 90012.

You may request the charge file up to 90 days after receiving this Notice of Right to Sue. After
the 90 days have passed, you may request the charge file only if you have filed a lawsuit in court
and provide a copy of the court complaint to EEOC.

For more information on submitting FOIA requests, go to
https://www.eeoc. gov/eeoc/foia/index.cfm.

For more information on submitted Section 83 requests, go to https://www.eeoc.gov/foia/section-
83-disclosure-information-charge-files.

NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA)

The ADA was amended, effective January 1, 2009, to broaden the definitions of disability to make
it easier for individuals to be covered under the ADA/ADAAA. A disability is still defined as (1)
a physical or mental impairment that substantially limits one or more major life activities (actual
disability); (2) a record of a substantially limiting impairment; or (3) being regarded as having a
disability. However, these terms are redefined, and it is easier to be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share
this information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at;
http://www.eeoc.gov/laws/types/disability regulations.cfm.

“Actual” disability or a “record of” a disability

If you are pursuing a failure to accommodate claim you must meet the standards for either “actual”
or “record of” a disability:

{] The limitations from the impairment no longer must be severe or significant for the
impairment to be considered substantially limiting.

[1] In addition to activities such as performing manual tasks, walking, seeing, hearing,
speaking, breathing, learning, thinking, concentrating, reading, bending, and
communicating (more examples at 29 C.F.R. § 1630.2(i)), “major life activities” now
include the operation of major bodily functions, such as: functions of the immune
system, special sense organs and skin; normal cell growth; and digestive, genitourinary,
bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an
individual organ within a body system.

[] Only one major life activity need be substantially limited.

(] Except for ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications)
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Enclosure with EEOC Notice of Closure and Rights (01/22)

INFORMATION RELATED TO FILING SUIT

UNDER THE LAWS ENFORCED BY THE EEOC
(This information relates to filing suit in Federal or State court under Federal law. If you also
plan to sue claiming violations of State law, please be aware that time limits may be shorter and
other provisions of State law may be different than those described below.)

IMPORTANT TIME LImITs — 90 DAYS TO FILE A LAWSUIT

If you choose to file a lawsuit against the respondent(s) named in the charge of discrimination,
you must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this email or mail. You should
keep a record of the date you received this notice. Once this 90-day period has passed, your
right to sue based on the charge referred to in this Notice will be lost. If you intend to consult an
attorney, you should do so promptly. Give your attorney a copy of this Notice, and the record of
your receiving it (email or envelope).

If your lawsuit includes a claim under the Equal Pay Act (EPA), you must file your complaint in
court within 2 years (3 years for willful violations) of the date you did not receive equal pay. This
time limit for filing an EPA lawsuit is separate from the 90-day filing period under Title VII, the
ADA, GINA, the ADEA, or the PWFA referred to above. Therefore, if you also plan to sue under
Title VII, the ADA, GINA, the ADEA or the PWFA, in addition to suing on the EPA claim, your
lawsuit must be filed within 90 days of this Notice and within the 2- or 3-year EPA period.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to relief. Filing this Notice is not enough. For more information
about filing a lawsuit, go to https://www.eeoc.gov/employees/lawsuit.cfm.

ATTORNEY REPRESENTATION

For information about locating an attorney to represent you, go to:
tps: . -gov/ wsul

In very limited circumstances, a U.S. District Court may appoint an attorney to represent individuals
who demonstrate that they are financially unable to afford an attorney.

HOW TO REQUEST YOUR CHARGE FILE AND 90-DAY TIME LIMIT FOR REQUESTS

There are two ways to request a charge file: 1) a Freedom of Information Act (FOIA) request or
2) a “Section 83” request. You may request your charge file under either or both procedures.
EEOC can generally respond to Section 83 requests more promptly than FOIA requests.

Since a lawsuit must be filed within 90 days of this notice, please submit your FOIA and/or
Section 83 request for the charge file promptly to allow sufficient time for EEOC to respond and
for your review.

To make a FOIA request for your charge file, submit your request online at
https://eeoc.arkcase.com/foia/portal/login (this is the preferred method). You may also submit a

FOIA request for your charge file by U.S. Mail by submitting a signed, written request
identifying your request as a “FOIA Request” for Charge Number 487-2024-00641 to the
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Enclosure with EEOC Notice of Closure and Rights (01/22)

are not considered in determining if the impairment substantially limits a major life
activity.

[] An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in
remission” (e.g., cancer) is a disability if it would be substantially limiting when active.

[] An impairment may be substantially limiting even though it lasts or is expected to last
fewer than six months.

“Regarded as” coverage

An individual can meet the definition of disability if an employment action was taken because
of an actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary
leave, termination, exclusion for failure to meet a qualification standard, harassment, or denial of
any other term, condition, or privilege of employment).

[] “Regarded as” coverage under the ADAAA no longer requires that an impairment be
substantially limiting, or that the employer perceives the impairment to be substantially
limiting.

1 The employer has a defense against a “regarded as” claim only when the impairment at

issue is objectively both transitory (lasting or expected to last six months or less) and
minor.

[] A person is not able to bring a failure to accommodate claim if the individual is covered
only under the “regarded as” definition of “disability”.

Note: Although the amended ADA states that the definition of disability “shall be construed
broadly” and “should not demand extensive analysis,” some courts require specificity in the
complaint explaining how an impairment substantially limits a major life activity or what facts
indicate the challenged employment action was because of the impairment. Beyond the initial
pleading stage, some courts will require specific evidence to establish disability. For more
information, consult the amended regulations and appendix, as well as explanatory publications,
available at http://www.eeoc.gov/laws/types/disability regulations.cfm.

Case 2:25-cv-00815-CDS-EJY Document 2-1

Ce:

Ann Tollefson
UnitedHealth Group
9900 BREN RD E
Minnetonka, MN 55343

7558 Whitman Colonial st
Las Vegas, NV 89166

Randi Halbert

Seyfarth Shaw LLP

233 S WACKER DR STE 8000
Chicago, IL 60606

Please retain this notice for your records.

Filed 05/09/25

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Statement on Racial Discrimination and Unjust Termination

It is disheartening and frustrating to find myself in a situation where | was terminated for what
was framed as a violation of company policy, particularly when the issue was related to technical
difficulties that were beyond my control. Despite escalating my VPN issues to IT and being
unable to make or receive calls for over a week due to these technical failures, | was
terminated, leaving me to believe that this decision may have been racially motivated.

When a large corporation like UnitedHealthcare, the biggest in the U.S., terminates an
employee of color under questionable circumstances, the imbalance in power and resources
between the company and the individual becomes glaringly obvious. It often feels like a "David
and Goliath" situation—one individual standing up against an institution that wields significant
power, influence, and resources.

In such cases, companies frequently claim that no discrimination took place. From their
perspective, they follow policies and procedures, and these protocols are supposed to apply
equally to everyone. But the lived experience of many people of color tells a different story.
Racism in the workplace isn't always about overt slurs or blatant actions—it can be subtle,
embedded in the way certain employees are treated when they raise concerns, are denied fair
opportunities, or, as in my case, are terminated for something beyond their control.

A person of color can easily feel targeted when they are held to a different standard than their
non-POC colleagues, or when issues like technical problems, which should have been
acknowledged and rectified by the company, are used as grounds for termination. The
supervisor's decision to fire me—without considering the legitimate technical difficulties |
faced—raises serious concerns about whether | was treated fairly, especially when these same
circumstances might have been handled differently for a non-POC colleague.

The truth is, corporations often try to shield themselves behind policies and data that ostensibly
prove that no racial bias exists in their decisions. But what they fail to address are the
unconscious biases that persist, the differential treatment, and the barriers that many people of
color continue to face in the workplace. It's easy for companies to assert that there was no racial
discrimination, especially when they control the narrative, hold the power, and rely on their vast
legal resources.

But to dismiss the possibility of racial discrimination in my case ignores the broader societal
context in which people of color often have to navigate additional challenges in the workplace.
The system itself is often rigged against us, and large corporations are skilled at deflecting
accusations of racism, even when the patterns of unequal treatment are clear to those
experiencing it.

in essence, it is not just about a policy violation. It is about how those policies are applied and to
whom. It’s about recognizing the power dynamics in place and understanding that discrimination
can manifest in subtle, yet harmful, ways. As an individual facing the full weight of a powerful
corporation, | am left with the sense that | was not just terminated for a technical issue—] was
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dismissed because of who | am and the color of my skin, in a company that is, quite frankly, too
big to see the damage they’ve caused to one person.
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UHC SYSTEM Error no Internet

Inbox
Search for all messages with label Inbox
Remove label Inbox from this conversation

Yvi DeJesus
<dejesusyvi3@gmail.com>

Wed, Nov 29,
2023, 10:13 AM

to
jennifer_queensberry

Hello Jennifer I'm trying very hard to get back up and in.. I'm having an issue connecting with IT.

I'm here trying | knew | did more damage yesterday by continuing to work as per closing sup.

This is not my fault but something wit UHC system VPN Network no Internet.

Please I'm sorry my computer is restarting now

This is Yvi
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The actions taken against me to have me terminated were
racially motivated. Jennifer Q and all other parties involved
made up lies against me. | am black and it was very easy to
fabricate these scenarios. Review the emails submitted as
evidence shows the IT issues | experienced were escalated to
a specialist and took a week to resolve. | did follow the
company policy. | am black and Jennifer Q wanted to end my
employment over something so she created the entire EOM
story. | shared personal pictures and information about my
home and my life. | posted pictures of my BMW in the
TEAMS chat. | posted a picture of myself on a yacht in the
TEAMS chat. | shared pictures of my beautiful home. At
Jennifer Q’s request. This is when Jennifer Q’s attitude
towards me changed. | know she was very shocked that a
black woman on her team has a nice home and car. Jennifer
asked the team to post a picture of our dream vacations. I’m
sure she could not believe it. Jennifer was so intrigued with
me she and Kristin would sit in meetings and try to guess how
old | was. Why would my age be of any concern? | will tell
you | am a beautiful black woman that does not look my age.
Again why would she and Kristin care about my age? Also |
did not do all that shucking and jiving like the other black
young ladies on the team did. Which again Jennifer found so
funny. Laughing at them rather laughing with them. On one
occasion | was very vulnerable and shared with Jennifer Q
how unhappy I was because | did not make enough money.
Jennifer Q knew | was interviewing for another position
internally and | believed she did not want me to get a better
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position that paid more money. | feel Jennifer Q did not want
me to get a better position. Again, | feel it was racially
motivated. Jennifer Q would allow a white lady. | believe her
name is Denise, the white lady that lied on me about the
EOM. Cursed in the TEAMS chat. Jennifer Q requested a
one on one with me when she claimed | was not having the IT
issues | was having. | was so frustrated and expressed how |
was feeling. Jennifer Q said | was disrespectful to her.
Creating the angry black woman scenario. But | am
supposed to allow someone to lie on me. About what | was
experiencing. Again | felt | was discounted because | am
black. Jennifer Q wanted to see me suffer and perhaps lose
my home and the wonderful life | created for myself. Jennifer
Q has had a tough life dealing with drug addiction and being
jailed. | believe again she is angry a black woman did not
have those types of issues in life. A black woman cannot
have anything? NO which is why she did not want to be a
mentor to me. | am not going to allow anyone to discount
what | experience and feel. Jennifer Q is racist. | believe her
son had a Confederate flag on his truck. When she shared a
picture of her son in some sort of Christmas parade.
